


  PER CURIAM.
 

  We have for review
  
   Acosta v. State,
  
  956 So.2d 1235 (Fla. 4th DCA 2007), a factually unelaborated decision in which the Fourth District Court of Appeal relied upon its decision in
  
   Yisrael v. State,
  
  938 So.2d 546 (Fla. 4th DCA 2006) (en banc),
  
   disapproved in part,
  
  993 So.2d 952 (Fla.2008). When the Fourth District decided
  
   Acosta, Yisrael
  
  was pending review in this Court. We have jurisdiction.
  
   See
  
  art. V, § 3(b)(3), Fla. Const.;
  
   Jollie v. State,
  
  405 So.2d 418, 420 (Fla.1981).
 

  We stayed proceedings in this case pending our disposition of
  
   Yisrael,
  
  in which we: (1) approved the decision of the First District in
  
   Gray v. State,
  
  910 So.2d 867 (Fla. 1st DCA 2005), and (2) disapproved the reasoning and rule of law articulated by the Fourth District in its underlying decision, but ultimately approved the result reached by that court
  
   on other grounds. See Yisrael v. State,
  
  993 So.2d 952, 960-61 (Fla.2008). We subsequently issued an order directing the State to show cause why we should not accept jurisdiction, summarily quash the decision under review, and remand for reconsideration in light of our decision in
  
   Yisrael.
  
  In response, the State asserts that documents submitted during sentencing complied with this Court’s
  
   Yisrael
  
  decision. However, the full appellate record is not before the Court, and the Fourth District is a more appropriate forum in which to raise these factual contentions that were not addressed within the four corners of the district court’s opinion below.
 

  Accordingly, we grant the petition for review, quash, and remand to the Fourth District Court of Appeal for reconsideration upon application of our decision in
  
   Yisrael.
  


  It is so ordered.
 

  QUINCE, C.J., and PARIENTE, LEWIS, CANADY, and POLSTON, JJ., concur.
 

  LABARGA, J., recused.
 
